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 3
 4                       UNITED STATES DISTRICT COURT
 5                                DISTRICT OF IDAHO
 6                                                 NO: 1:17-cv-00493-SAB
 7                                                      1:17-cv-00511-SAB
 8 IN RE:                                               2:17-cv-00478-SAB
 9 CHARLES LEE GILLENWATER                              2:17-cv-00484-SAB
10                                                 ORDER DECLARING
11                                                 CHARLES LEE
12                                                 GILLENWATER A VEXATIOUS
13                                                 LITIGANT; SETTING UP
14                                                 MISCELLANEOUS FILE
15        By previous Order, the Court directed Charles Lee Gillenwater to Show
16 Cause as to why he should not be declared a vexatious litigant. 1 Mr. Gillenwater
17 filed a timely response to the Show Cause Order.2
18        Here, the Court finds it is appropriate to impose pre-filing restrictions. A
19 review of Mr. Gillenwater’s recent filings demonstrate that he is in the habit of
20 filing harassing and duplicative lawsuits for which he does not have an objective
21 good faith expectation of prevailing and his actions are placing an unnecessary
22 burden on the court staff.
23 //
24
25 1 2:17-cv-00478-SAB, ECF No. 15; 2:17-cv-00484-SAB, ECF No. 15; 1:17-cv-
26 00493-SAB, ECF No. 15; 1:17-cv-00511-SAB, ECF No. 12.
27 2 2:17-cv-00478-SAB, ECF No. 17; 2:17-cv-00484-SAB, ECF No. 16; 1:17-cv-
28 00493-SAB, ECF No. 16; 1:17-cv-00511-SAB, ECF No. 13.

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 1        1:17-cv-00433-SAB
 2        Gillenwater v. Candy W. Dale
 3        In this case, Mr. Gillenwater sought monetary damages in the amount of
 4 $100 million. He accused Magistrate Judge Dale of committing criminal acts
 5 “when she abused her discretion, by failing to employ rule of reason analysis prior
 6 to issuing an order which could be reviewed for abuse of discretion.” ECF No. 2.
 7 He asserts that Magistrate Judge Dale demonstrated “a deliberate and willful
 8 determination to use Congressional statues to deprive fundamental constitutional
 9 rights or peripheral due processing rights,” violating certain criminal statutes. Id.
10 He asked that he be assigned “to act as the prosecution in all future criminal trials
11 of [M]agistrate Judge Dale, related to these accusations.” At the same time, he
12 filed the following motions: (1) Motion to Acknowledge the Complaint is a
13 Petition to the Government for the Redress of Grievances, ECF No. 3; (2) Motion
14 to Employ the Rule of Reason, ECF No. 4; (3) Motion for the Court to Inform the
15 Plaintiff of its Consideration of Any Presumption of Constitutionality of Any
16 Statute or Court Rule Which Mandate or Delegates Discretionary Power to
17 Dismiss This Case under Any Circumstances, ECF No. 5; and (4) Motion for the
18 Judge to Acknowledge the Attached Affidavit as a Written Statement Containing
19 the Essential Facts of the Offenses Charged, ECF No. 7.
20        This case was dismissed prior to being served.
21        1:17-cv-00468-SAB
22        Gillenwater v. Senior Judge Lodge
23        In this case, Mr. Gillenwater sought monetary damages in the amount of
24 $100 million. He accused Senior Judge Lodge of the same conduct that he
25 accused Magistrate Dale, specifically, of violating the criminal statutes “when he
26 abused his discretion and acted while a conflict of interest existed, failing to
27 employ rule of reason analysis prior to issuing an order which can be reviewed for
28 abuse of discretion.” ECF No. 2. He filed the same motions, see ECF Nos. 3, 4, 5,

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 1 7; and he also filed a Motion Requesting an Evidentiary Hearing to Establish
 2 Subject-matter Jurisdiction, Personal Jurisdiction and the Appropriateness of the
 3 Venue. ECF No. 6.
 4        The case was dismissed prior to being served.
 5        2:17-cv-00478-SAB
 6        Gillenwater v. Judge Bastian
 7        In this case, Mr. Gillenwater again sought monetary damages in the amount
 8 of $100 million. He also accused this Court of the same conduct as alleged in the
 9 two prior cases, as well as failing to employ “the Sherbet test, the Turner test,
10 undue burden doctrine, or conduct an inquiry into allegations of substantial
11 governmental interference.” ECF No. 2. He also filed the same motions. See ECF
12 Nos. 5, 6, 7, 8, and 9.
13        The case was dismissed prior to being served.
14        2:17-cv-00484
15        Gillenwater v. P.J Dennis
16        In this case, Mr. Gillenwater is seeking monetary damages in the amount of
17 $100 million. He is accusing P.J. Dennis, his supervising Probation Officer, of
18 violating criminal statutes “when he abused his discretion while usurping the
19 domain of the impartial civilian grand jury, willfully and intentionally knowing
20 that his actions violated criminal statutes.” ECF No. 2. He filed almost identical
21 motions as in the prior cases. See ECF Nos. 3, 4, 5, 6, and 7, as well as a Motion
22 Pursuant to Rule 16 Federal Rules of Civil Procedure. ECF No. 12 and a Petition
23 for Emergency Writ of Peremptory Mandamus. ECF No. 14.
24        The case was dismissed prior to being served.
25        1:17-cv-00493-SAB
26        Gillenwater v. Stephen W. Kenyon
27        In this case, a significant portion of Mr. Gillenwater’s Complaint contains
28 the exact same language he presented in his case against Mr. Dennis and he also

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 1 filed the same motions. ECF Nos. 2, 3, 4, 5, 6, and 7.
 2        The case was dismissed prior to being served.
 3        1:17-cv-00511-SAB
 4        Gillenwater v. Tommy Rosser, U.S. Probation
 5        In this case, Mr. Gillenwater accuses Mr. Rosser, a supervising U.S.
 6 Probation Officer, of violating criminal statutes “when he abused his discretion by
 7 assigning a probation officer with a conflict of interest to this petitioner’s case,
 8 while usurping the domain of the impartial civilian grand jury by permitting his
 9 officers to conduct illegal searches and seizures in accordance with
10 unconstitutional and unlawful court orders, he did so willfully and intentionally
11 knowing that his actions violated criminal statutes. ECF No. 2. He is seeking $100
12 million. He also filed the same motions as the prior cases. See ECF Nos. 3, 4, 5, 6,
13 7, and 8.
14        The case was dismissed prior to being served.
15        The above-summary of the cases demonstrate that Mr. Gillenwater is filing
16 duplicitous lawsuits against Court personnel, who for the most part, are immune
17 from suit. The fact that in each of these suits he is asking that he be given
18 permission “to act as the prosecution in all future criminal trials” against the
19 named-defendants highlights the frivolous nature of Mr. Gillenwater’s
20 Complaints. Each of these Complaints were dismissed before the named-
21 Defendant was served and Mr. Gillenwater’s Applications to Proceed In Forma
22 Pauperis were denied because the Court concluded the Complaints were frivolous.
23 Based on the frequency of the filing of the Complaints, as well as the fact that the
24 filed Complaints are virtually identical, except for different named-Defendants,
25 the Court concludes that Mr. Gillenwater is abusing the judicial process. As a
26 result, Mr. Gillenwater is prohibited from filing any new or subsequent civil
27 Complaints in the District of Idaho. These sanctions are necessary in order to
28 protect the court staff and court personnel from being named as defendants in

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 1 frivolous lawsuits as well as relieving the court staff from the unnecessary burden
 2 that is a result of Mr. Gillenwater’s abuse of the judicial process.
 3        Accordingly, IT IS HEREBY ORDERED:
 4        1. Charles Lee Gillenwater is prohibited from filing any new or subsequent
 5 civil Complaints in the District of Idaho without first obtaining permission from
 6 the Court.
 7        2. The District Court Executive is directed to create and maintain a
 8 miscellaneous file, assigned to the undersigned judge, with the general title “In
 9 the matter of Charles Lee Gillenwater.” This miscellaneous file shall serve as the
10 repository of this Order and all documents proffered for filing by Mr. Gillenwater
11 for which authority to file has not been granted. If the Clerk’s Office receives a
12 filing from Mr. Gillenwater for which authority has not been granted, the District
13 Court Executive is directed to file the document in the miscellaneous file and no
14 further action is required. The District Court Executive is not required to return
15 the documents to Mr. Gillenwater.
16        IT IS SO ORDERED. The Clerk of Court is directed to enter this Order
17 and forward a copy to Mr. Gillenwater.
18        DATED this 6th day of February 2018.
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                                                    Stanley A. Bastian
22
                                                United States District Judge
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     ORDER DECLARING CHARLES LEE GILLENWATER A VEXATIOUS
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